
718 S.E.2d 395 (2011)
STATE of North Carolina
v.
Alvaro Rafael CASTILLO.
No. 364P11.
Supreme Court of North Carolina.
November 9, 2011.
Benjamin Dowling-Sendor, Assistant Appellate Defender, for Castillo, Alvaro Rafael.
John G. Barnwell, Assistant Attorney General, for State of N.C.
James R. Woodall, Jr., District Attorney, for State of N.C.

ORDER
Upon consideration of the petition filed on the 23rd of August 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*396 "Denied by order of the Court in conference, this the 9th of November 2011."
